  Case: 4:19-cr-00116-CDP Doc. #: 40 Filed: 06/12/19 Page: 1 of 3 PageID #: 71



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

  UNITED STATES OF AMERICA,                        )
                                                   )
        Plaintiff,                                 )
                                                   )
  v.                                               )   No. 4:19 CR 00116 CDP (JMB)
                                                   )
  KENNETH A. GROOMS, II                            )
                                                   )
        Defendant.                                 )

           GOVERNMENT'S NOTICE OF INTENT AND MOTION IN LIMINE
                TO ADMIT SELF-AUTHENTICATING RECORDS

       COMES NOW the United States of America, by and through its attorneys, Jeffrey B.

Jensen, United States Attorney for the Eastern District of Missouri, Reginald L. Harris,

Executive Assistant United States Attorney and Jennifer A. Winfield, Assistant United States

Attorney for said District, and hereby gives notice that it intends to introduce evidence pursuant

to Fed. R. Evid. 902(11).

       The Federal Rules of Evidence allow for business records to be admitted in evidence at

trial without a custodian of records testifying about their authenticity. Federal Rule of Evidence

902 reads, in pertinent part:


               (11) Certified Domestic Records of Regularly Conducted
               Activity B The original or a duplicate of a record of regularly
               conducted activity that would be admissible under Rule 803(6) if
               accompanied by a written declaration of its custodian or other
               qualified person . . . certifying that the record B

                       (A) was made at or near the time of the occurrence
                       of the matters set forth by, or from information
                       transmitted by, a person with knowledge of those
                       matters;
  Case: 4:19-cr-00116-CDP Doc. #: 40 Filed: 06/12/19 Page: 2 of 3 PageID #: 72



                         (B) was kept in the course of regularly conducted
                         activity; and
                         (C) was made by the regularly conducted activity as
                         a regular practice.

                A party intending to offer a record into evidence under this
                paragraph must provide written notice of that intention to all
                adverse parties, and must make the record and declaration
                available for inspection sufficiently in advance of their offer into
                evidence to provide an adverse party with a fair opportunity to
                challenge them.

Fed. R. Evid. 902(11).

       Pursuant to the notification requirement set forth in Fed. R. Evid. 902(11), the

government hereby gives notice of its intention to admit at trial business records provided by the

Custodian of Records for the St. Louis Metropolitan Police Department (“SLMPD”) and for

Sprint relative to records subpoenaed, for information regarding the defendant in the above

styled cause.

       These records include (1) GPS records (i.e. coordinates, dates, times, etc.) regarding

Kenneth Grooms’ SLMPD unit #1624, (2) SLMPD Human Resource Records for Kenneth

Grooms, and (3) subscriber and account records from Sprint. The Custodian of Records for each

aforementioned entity has provided these records, accompanied by a Certification attesting to the

following:

                $        that the records were made at or near the time of the
                         occurrence of the matters set forth therein, by or from
                         information transmitted by, a person with knowledge of
                         those matters;

                $        that the records were kept in the course of regularly
                         conducted business activity; and

                $        that the records were made by the regularly conducted
                         business activity as a regular practice.
  Case: 4:19-cr-00116-CDP Doc. #: 40 Filed: 06/12/19 Page: 3 of 3 PageID #: 73



       This declaration clearly contains all of the information and requirements proscribed by

Fed. R. Evid. 902(11). Therefore, extrinsic evidence of authenticity is not required as a

condition precedent to the admissibility of these records. Fed. R. Evid. 902.

                                         CONCLUSION
       For the foregoing reasons, the government respectfully requests that this Court issue an

order in limine permitting the introduction of business records provided by the St. Louis

Metropolitan Police Department and Sprint.


                                              Respectfully submitted,

                                              JEFFREY B. JENSEN
                                              United States Attorney

                                                /s/ Jennifer A. Winfield       .
                                              JENNIFER A. WINFIELD, #53350MO
                                              Assistant United States Attorney
                                              111 S. Tenth Street, 20th Floor
                                              St. Louis, Missouri 63102
                                              (314) 539-2200



                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 12, 2019, the foregoing was filed electronically with the Clerk
of the Court to be served by operation of the Court’s electronic filing system upon all counsel of
record.


                                              /s/ Jennifer A. Winfield         .
                                              JENNIFER A. WINFIELD, #53350MO
                                              Assistant United States Attorney
